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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,                      )
                                               )
                Plaintiff,                     )        CRIMINAL NO. 17-2558-MV
                                               )
       vs.                                     )
                                               )
ARTHUR PERRAULT,                               )
                                               )
                Defendant.                     )

                UNITED STATES NOTICE OF INTENT TO OFFER EVIDENCE
                    PURSUANT TO FED. R. EVID. 404(b), 413, AND 414

       The United States hereby provides notice to the defendant, Arthur Perrault (hereinafter,

“Defendant”), of the prosecution’s intent to offer evidence at trial, pursuant to Rule 404(b), Rule

413, and Rule 414 of the Federal Rules of Evidence. 1

       I.       Applicable Law

                A.      Rule 404(b)

       Pursuant to Fed. R. Evid. 404(b), evidence of a defendant’s other crimes, wrongs, or acts

may be admissible at trial for purposes other than proving the defendant’s character, such as

proving motive, intent, opportunity, preparation, plan, knowledge, identity, absence of mistake,

or lack of accident. The prosecution must “provide reasonable notice of the general nature of

any such evidence” that the United States intends to offer. Fed. R. Evid. 404(b)(2)(A).

       However, Fed. R. 404(b) only limits the admissibility of “extrinsic evidence.” United

States v. Parker, 553 F.3d 1309, 1314 (10th Cir. 2009). This rule does not apply to “intrinsic



1
  The United States provides this notice in compliance with the requirements for admission of
such evidence at trial. However, the United States reserves the right to amend this notice within
the timeframe authorized by Fed. R. Evid. 404(b), 413, and 414. Further, the United States
reserves the right to provide further oral and written argument in support of the admission of
such evidence at Defendant’s trial.
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evidence” that is “inextricably intertwined” with the charged offenses. Id. Evidence is not

subject to exclusion under Fed. R. Evid. 404(b) when it is “directly connected to the factual

circumstances of the crime and provides contextual or background information to the jury.” Id.

“Evidence of acts or events that are part of the crime itself, or evidence essential to the context of

the crime, does not fall under the other crimes limitation of Rule 404(b).” Id. at 1314-15.

               B.      Fed. R. Evid. 413 and 414

       Pursuant to Fed. R. Evid. 413(a), when a defendant is “accused of a sexual assault, the

court may admit evidence that the defendant committed any other sexual assault.” When the

prosecution intends to offer such evidence, “it must disclose it to the defendant, including

witnesses’ statements or a summary of the expected testimony . . . at least fifteen days before

trial or at a later time that the court allows for good cause.” Fed. R. Evid. 413(b). Similar rules

apply for the admission of evidence of uncharged child 2 molestation offenses under Fed. R.

Evid. 414. Unlike Rule 404(b) other act evidence, which may not be used to prove propensity,

Rule 413 and 414 evidence is intended to prove propensity. United States v. Benally, 500 F.3d

1085, 1092 (10th Cir. 2007) (“Evidence of other similar crimes involving sexual assault and

child molestation was determined by Congress to be probative of a defendant’s propensity to

commit such crimes.”).

               C.      Fed. R. Evid. 403

       Evidence that is otherwise admissible may still be subject to exclusion when “its

probative value is substantially outweighed by a danger of . . . unfair prejudice, confusing the




2
 For these purposes, a child means a person less than fourteen years old. Fed. R. Evid.
414(d)(1).

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issues, misleading the jury, undue delay, wasting time, or needlessly presenting cumulative

evidence.” Fed. R. Evid. 403.

       II.      Notice of Intent to Offer Evidence

                A.     Other Evidence Concerning John Doe

       The United States intends to offer the following evidence at trial pertaining to John Doe,

the victim named in the indictment. Some of this evidence directly relates to the charged

offenses, which involve crimes within the special maritime and territorial jurisdiction of the

United States. Other evidence involved uncharged conduct, virtually all of which occurred

outside of federal jurisdiction that could have been charged in an indictment if it occurred on

federal property and within the applicable statute of limitations period. The United States submit

that this evidence of uncharged conduct is admissible as intrinsic evidence of the charges

offenses because such evidence is inextricably intertwined with the charges based on the

standards set forth in Parker, above. In the alternative, the United States submits that this

evidence is admissible pursuant to Fed. R. Evid. 404(b), 413, and 414.

       A.       John Doe

        Defendant was the pastor of St. Bernadette’s parish when he abused John Doe. John

Doe was an altar boy at the time of the abuse. Defendant engaged in a progression of improper

acts that eventually led to sexual abuse. At first, Defendant would touch, hug, and kiss John Doe

on the head - usually in the back of the church after mass, beginning when he was about nine or

ten years old. Defendant also took John Doe on outings, including meals at restaurants. John

Doe observed Defendant smoke a pipe on numerous occasions.

        Defendant sometimes kissed John Doe on the mouth and attempted to “French” kiss

him. Defendant’s improper conduct eventually progressed to actual sexual abuse, including



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Defendant performing oral sex on John Doe, Defendant digitally penetrating John Doe’s anus

with his fingers, and Defendant fondling John Doe’s genitals over and under John Doe’s clothes.

Defendant sometimes gave him alcohol (beer and wine) to facilitate his abuse.

          Defendant’s first act of sexual abuse occurred after mass in a living room of the rectory at

St. Bernadette’s. Defendant placed his hand directly on John Doe’s penis under his clothes.

Defendant also placed his finger in John Doe’s anus. Defendant left the room after this

happened.

          Defendant also sexually abused John Doe at several other locations in New Mexico,

including on Kirtland Air Force Base and the Santa Fe National Cemetery. While some of these

acts are reflected as charges in the indictment, not all of them are. The United States anticipates

that John Doe will testify that Defendant abused him at the base chapel approximately ten times,

not all of which are captured in the current indictment. Defendant’s conduct at the chapel

included touching John Doe’s genitals under John Doe’s clothing and digitally penetrating John

Doe’s anus with his fingers. The anal penetration caused bleeding on at least one occasion.

Defendant said things to John Doe as he was abusing him such as “Good job[,]” “This is our

secret[,]” and “Don’t tell anyone.” Defendant would sometimes stop his abuse when he heard

noises from nearby.

          John Doe also estimates that Defendant abused him approximately ten more times while

they were inside of Defendant’s automobile within the confines of Kirtland Air Force Base. This

abuse in Defendant’s car usually involved Defendant fondling John Doe’s genitals under John

Doe’s clothing, penetrating John Doe’s anus with John Doe’s fingers, and performing oral sex on

John Doe. Some of this abuse occurred near what John Doe has described as “airplanes on a

stick.”



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         Defendant also performed oral sex on John Doe in other places, including a bedroom of

the St. Bernadette’s rectory. Defendant gave John Doe some gifts not long before he left New

Mexico. These included a portable stereo, Nintendo, and a medal with a Marine logo on it.

Defendant told John Doe that he was receiving these gifts because he was a “good boy.”

       Defendant coaxed John Doe to keep their encounters a secret by telling him, “You’re my

boy[,]” “You’re my sunshine[,]” and “Don’t tell the other altar boys. You’ll make them

jealous.” Defendant also instructed John Doe, “Do not speak ill of a priest.”



               B.     Evidence Concerning Other Victims

       The United States intends to offer the following evidence concerning other victims 4 of

sexual abuse by Defendant, pursuant to Fed. R. Evid. 404(b), 413, and 414.

                                           John Doe 2 5

       Defendant sexually abused John Doe 2 repeatedly, including in Defendant’s bedroom at

his condominium. This abuse included Defendant kissing John Doe 2 and hugging him tightly

while Defendant’s penis was erect. This abuse occurred when John Doe 2 was approximately a

sixth grader and an altar boy at St. Bernadette’s parish. John Doe 2 attended at least one parish

appreciation dinner with Defendant and other altar boys at Kirtland Air Force Base. John Doe 2

remembers Defendant smoking a pipe.




4
 These additional victims are identified in this document as “John Doe 2” to “John Doe 9.”
However, these additional victims are identified by name in witness statements and depositions
being provided to the defense subject to the Court’s protective order. The United States will also
provide the Court and the defense with a table indicating the identity of each “John Doe” victim.

5
 The United States has disclosed further information about Defendant’s abuse of John Doe 2 in
discovery documents 746-747 and 800-801.

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                                          John Doe 3 6

       Defendant sexually abused John Doe 3 on at least one occasion in a church rectory when

John Doe 3 was about thirteen years old. This abuse involved Defendant kissing John Doe 3,

rubbing John Doe 3’s genitals, and unbuttoning or unzipping John Doe 3’s pants. This abuse

occurred while John Doe 3 was an altar boy at a parish in Albuquerque. John Doe 3 promptly

disclosed this abuse to his father, who took John Doe 3 back to the church and confronted

Defendant. Defendant later wrote an apology letter to John Doe 3’s parents.

                                          John Doe 4 7

       Defendant sexually abused John Doe 4 at least once in Defendant’s living quarters at Pius

X High School, where Defendant was a faculty member and John Doe 4 was a student. This

abuse included Defendant performing oral sex on John Doe 4 and masturbating in front of him.

Defendant told John Doe 4 to forget the incident ever happened.

                                       John Doe 5 and 6 8

       Defendant sexually abused two brothers, John Doe 5 and John Doe 6, repeatedly in the

bedroom of their home. John Doe 5 was about eleven to thirteen years old when the abuse

occurred. John Doe 6 was about nine to eleven years old. The abuse occurred while the boys

were altar boys at a parish in Albuquerque. Defendant’s abuse included fondling the boys’

genitals. The boys’ parents frequently invited Defendant to their home for Sunday dinner. At


6
 The United States has disclosed further information about Defendant’s abuse of John Doe 3 in
discovery documents 808-869 and 910.
7
 The United States has disclosed further information about Defendant’s abuse of John Doe 4 in
discovery documents 699-745 and 806-807.
8
 The United States has disclosed further information about Defendant’s abuse of John Doe 5 in
discovery documents 748, 796-797 and 870-909 and of John Doe 6 in discovery documents 749-
750, 798-799, and 1092-1128.

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least once, Defendant took the boys to Kirtland Air Force Base, but did not abuse him there.

Defendant also took the boys to restaurants in Albuquerque. John Doe 5 and John Does 6

eventually disclosed this abuse to each other and their parents. The boys’ father confronted

Defendant, who later apologized to their mother at a church function.

                                          John Doe 7 9

       Defendant sexually abused John Doe 7 repeatedly, including in the base chapel and in

Defendant’s automobile at Kirtland Air Force Base. Other acts occurred at Ten Thousand

Waves and Ojo Caliente. This abuse started when John Doe 7 was about fourteen years old.

Defendant masturbated in front of John Doe 7. Defendant performed oral sex on John Doe 7,

fondled John Doe 7’s genitals, and digitally penetrated John Doe 7’s anus. Defendant also

penetrated John Doe 7’s anus with his penis. Defendant sometimes provided John Doe 7 with

alcohol when abusing him. Defendant also showed John Doe 7 child pornography. John Doe 7

attended St. Bernadette’s parish when this abuse occurred.

                                          John Doe 8 10

       Defendant sexually abused John Doe 8 repeatedly, including in the base chapel and in

Defendant’s automobile at Kirtland Air Force Base. At least once, Defendant took John Doe 8

for dinner at the Officers’ Club. Defendant also took John Doe 8 on trips to the Jemez

Mountains, Santa Fe, and Juarez, Mexico. Defendant abused John Doe 8 when John Doe 8 was

in middle school. John Doe 8 was an altar boy at the time of the abuse. Defendant’s conduct

included performing oral sex on John Doe 8 and fondling John Doe 8’s genitals. Defendant told


9
 The United States has disclosed further information about Defendant’s abuse of John Doe 7 in
discovery documents 802-803 and 911-951.
10
  The United States has disclosed further information about Defendant’s abuse of John Doe 8 in
discovery documents 751-795.

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John Doe 8 his conduct was not improper because God made them that way. Defendant

sometimes showed John Doe 8 pornography. John Doe 8 remembers Defendant smoking a pipe.

                                            John Doe 9 11

       Defendant sexually abused John Doe 9 repeatedly, including in Defendant’s automobile

and Defendant’s living quarters at St. Pius, where Defendant was a faculty member. John Doe 9

was one of Defendant’s students at the time of the abuse. Defendant touched John Doe 9 under

John Doe 9’s shirt. Defendant also rubbed Defendant’s knee in John Doe 9’s groin.    Defendant

bought gifts for John Doe 9. Defendant also took John Doe 9 on an overnight trip to Sante Fe

where they slept in the same bed but no abuse occurred. John Doe 9 remembers Defendant

smoking a pipe.

       III.    Conclusion

       The evidence described herein is admissible for the purposes set forth above. This Court

should allow the United States to offer this evidence at trial.

                                                       Respectfully Submitted,


                                                       JOHN C. ANDERSON
                                                       United States Attorney

                                                       _/s/____________________________
                                                       HOLLAND S. KASTRIN
                                                       SEAN J. SULLIVAN
                                                       Assistant United States Attorneys

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 5th day of November, 2018, I filed the foregoing
pleading electronically through the CM/ECF system, and served counsel of record with this
pleading by email.


11
  The United States has disclosed further information about Defendant’s abuse of John Doe 9 in
discovery documents 804-805 and 952-1091.
                                                  8
